        Case 20-11075-pmm                           Doc        Filed 01/25/24 Entered 01/25/24 10:45:49                              Desc Main
                                                               Document      Page 1 of 6
 Fill in this information to identify the case:

  Debtor 1              Denise M Hewitt

  Debtor 2
  (Spouse, if filing)


  United States Bankruptcy Court for the: Eastern District of Pennsylvania
                                                                                  (State)
  Case number           20-11075-pmm




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                 12/15
If the debtor's plan provides for payment of post-petition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


   Name of creditor:                 KelDon I LLC                                    Court claim no. (if known): 4
   Last 4 digits of any number you use to                                            Date of payment change:
   identify the debtor's account:                             XXXXXX7659             Must be at least 21 days after date       03/01/2024
                                                                                     of this notice

                                                                                     New total payment:                        $ 1,342.13
                                                                                     Principal, interest, and escrow, if any

Part 1:         Escrow Account Payment Adjustment

 1. Will there be a change in the debtor's escrow account payment?
             No
             Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable non-bankruptcy law. Describe
                  the basis for the change. If a statement is not attached, explain why:


                        Current escrow payment:           $337.75                                  New escrow payment: $434.22



Part 2:         Mortgage Payment Adjustment

 2.      Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
         variable-rate account?
             No
             Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable non-bankruptcy law. If a notice is not
                  attached, explain why:


                        Current interest rate                                %                     New interest rate:                       %

                        Current principal and interest payment: $                                  New principal and interest payment: $


Part 3:         Other Payment Change

 3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
             No
             Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                  (Court approval may be required before the payment change can take effect.)
                        Reason for change:
                        Current mortgage payment:         $                                        New mortgage payment: $




Official Form 410S1                                                    Notice of Mortgage Payment Change                                        page 1
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                                                              Document      Page 2 of 6
Debtor 1         Denise M Hewitt                                                     Case number (if known) 20-11075-pmm
                 First Name     Middle Name       Last Name




Part 4:       Sign Here


    The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
    telephone number.
    Check the appropriate box:
           I am the creditor.
           I am the creditor's attorney or authorized agent.

    I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
    knowledge, information, and reasonable belief:




    /s/ Roger Fay, Esq., ID No. 315987                                                   Date January 25, 2024
    Signature


    Print:             Roger Fay, Esquire                                                Title       Attorney for Creditor
                       First Name                 Middle Name Last Name


    Company            Albertelli Law


    Address            14000 Commerce Parkway, Suite H
                       Number          Street
                       Mount Laurel                            NJ            08054
                       City                                    State         ZIP Code


Contact phone          (856) 724-1888                                                Email: rfay@alaw.net




Official Form 410S1                                                Notice of Mortgage Payment Change                                 page 2
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                 IN THE UNITED STATES BANKRUPTCY COURT FOR
                    THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE:
      Denise M Hewitt,                              Bankruptcy No. 20-11075-pmm
                 Debtor,                            Chapter 13

 KelDon I LLC,
                    Secured Creditor,

 Denise M Hewitt,
                    Debtor / Respondent,

 and
 KENNETH E. WEST,
              Trustee / Respondent.

                              CERTIFICATION OF SERVICE

        Roger Fay, Esquire counsel for KelDon I LLC, hereby certifies that a copy of the
NOTICE OF MORTGAGE PAYMENT CHANGE was served upon the following persons via
electronic transmission or by regular first-class mail, postage pre-paid on January 25, 2024,
addressed as follows:

 KENNETH E. WEST                                 BRAD J. SADEK
 Office of the Chapter 13 Standing Trustee       Sadek Law Offices, LLC
 1234 Market Street - Suite 1813                 1500 JFK Boulevard
 Philadelphia, PA 19107                          Ste 220
 via electronic transmission and regular mail    Philadelphia, PA 19102
                                                 via electronic transmission and regular mail
 Denise M Hewitt
 9347 Edmund Street
 Philadelphia, PA 19114
 via regular mail

                                                 ALBERTELLI LAW

 DATED: January 25, 2024                         By: /s/ Roger Fay, Esq., ID No. 315987
                                                 14000 Commerce Parkway, Suite H
                                                 Mount Laurel, NJ 08054
                                                 rfay@alaw.net
                                                 (856) 724-1888
                                                 Attorneys for Secured Creditor
